sO FU Oe we

hue fbeae 12:Stncv- Dae WAL EBA VEAL Bfocument 158 eet 1 1] BAe ID 6

] Ils

2
3
4
5
6
7
8
9

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25

ty eeenet20 eee»
ea Eid UNITED STATES DISTRICT JUDGE

i
HL

a

ewe ee,

Atte a2

AUG 28 °99 10:16 2026288858 PAGE. @3

 

 

 

ENTERED at
LONGER CLERK, U.S. 9 pisTRICT Che cou

 

CLERK, US ‘DISTRICT COURT ~

AUG 2 3 Igq9
/

 

 

gg AUG 23 AN 8: 27

- COURT
a aE OUP. ,

‘ Rae de bre ty ¢
ty BOLLE V '

Wit-—-~ 77 ~ INTHE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

FCENTRAL DIS F CALIFORNIA
BY DEPUTY

 

 

UNITED STATES OF AMERICA, ex rel. Case No. CV No, 95-4812 SVW (JGx)
P. ROBERT PRATT andP. ROBERT Judge Carlos R. Moreno

PRATT, individually,
ORDER APPROVING AMENDMENT TO
Plaintiffs, SETTLEMENT AGREEMENT

VS.

ALLIANT TECHSYSTEMS. INC., a
Delaware Corporanion, and HERC ULES
INCORPORATED, a Delaware Corporation, } Tyg cNsTITUTES NOTICE OF ENTRY

Defendants, AS REQUIRED BY FRCP, RULE 77(d).

 

Pursuant to the Order entered in this action on February 17, 1999, and based upon the
stipulated motion and the letter attached thereto from counsel for the United States of America
stating that the United States does not object to the granting of the stipulated motion, the
Amendment to the Settlement ay, attached to the parties’ stipulated motion is hereby

APPROVED. 2/4
IT IS SO ORDERED this a G— day of _ 1999.

WHA

we. wea

COPY PiYS AS
NOTICE PTYS ‘AUG 2 4 1999 \

l : ~

]{ 6083129.1 oe . ORDER APPROVING AMENDMENT TO SETTLEMENT AGREEMENT

 
